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lN THE uNITED STATES D:STRICT couR :m§q cans ,
FOR THE WESTERN DISTRICT oF TENNES§( §§Q‘{,`j;.-§”§'-§§§§F§O§§-?
WESTERN DIVISION \w§ cé§dfmemm§é

 

DEXTER O. CREEL, JR.,

Piaintiff,
No. 01_2939 B

VS.
SHELBY COUNTY GOVERNMENT, et.al.

Defendants.

 

ORDER GRANTING MOTION OF DEFENDANT GLEAVES FOR PERMISSION
TO FILE A MEMORANDUM IN EXCESS OF TWENTY PAGES

 

This matter came on to be heard upon Defendant’s Motion for
Permissioh to File a Memorandum in Excess of Twehty Pages from
Which it appears to the Court that for good cause shown the Motion
of the Defendant should. be granted and that the Defendant. is
granted permission to file a memorandum in excess of twenty pages.
The Clerk is directed to file the Memorahdum previously "received"
by the Clerk.

IT IS SO ORDERED.

 

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Pleading
has been served upon Johnny Q. Rasberry, Jr., Attorney at Law and
R. Linley Richter, Jr., Attorney at Law, 100 North Main Street,
Suite 2909, Memphis, Tennessee 38103; and Debra, L. Fessenden,
Assistant County Attorney, 160 N. Main Street, Suite 660, Memphis,

Tennessee 38103 by U.S. mail, postage prepaid, this czjb day of

May, 2005. §§ M®QL;_N

J§§N E. MARKOWITZ

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:01-CV-02989 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

